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                                                                                              2014




STATEMENT OF OPINION
Jorge Gil-Blanco




    HELLS ANGELS OUTLAW MOTORCYCLE GANG




    “This report is protected by legal professional privilege. To ensure privilege is not waived
    please keep this report confidential and in a safe and secure place. This report should not be
    distributed, nor any reference to it made, to any person or organization not directly involved
    in making decisions on the subject matter or this report.”




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1. INTRODUCTION

      1.1. I have been a police officer and deputy sheriff for several agencies, including

             the Los Angeles Police Department, Sacramento County Sheriff’s Department,

             San Jose Police Department and Dixon Police Department, since 1973. I am

             currently a San Mateo County Sheriff’s Office Reserve Deputy Sheriff, assigned

             to the Gang Intelligence Unit since 2012. As a Reserve Deputy, I assist the

             Gang Unit with Outlaw Motorcycle Gang Intelligence and investigations. A

             full copy of my curriculum vitae appears in Annexure A to this report.

      1.2. Since my assignment to the Criminal Intelligence Unit of the San Jose Police

             Department in 1990, where I was assigned as the Outlaw Motorcycle Gang

             (OMG) investigator, I have continued to investigate, consult and provide expert

             testimony on OMG cases.

      1.3. I have been deemed an expert by United States courts to including both Federal

             and State courts in, California, Nevada, Arizona, Washington and British

             Columbia, Canada on forty (40) instances, testifying at Evidentiary Hearings,

             Grand Jury Hearings, Preliminary Hearings, Jury Trials and an Immigration

             Hearing (telephonic). Of the forty (41) instances, thirty-seven (38) involved

             testimony on the Hells Angels, two (2) on the Vagos and one (1) on the Misfits

             OMGs. 1

      1.4. My statement of opinion is based on the knowledge and experiences I have

             gained through various sources, with a major focus on the Hells Angels OMG,

             including:


1   See Annexure A (Jorge Gil-Blanco CV) for dates and courts of testimony.


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     1.4.1. Personal direct involvement in numerous OMG investigations.

     1.4.2. Personal observations made while monitoring numerous Hells Angels

             “runs” and events.

     1.4.3. Hundreds of conversations and exchanges I have had with other police

             officers and OMG investigators at the national and international level.

     1.4.4. Hundreds of seized documents from Hells Angels clubhouses and

             members that I continue to review and study.

     1.4.5. Analysis of a number of criminal prosecution cases involving Hells

             Angels members.

     1.4.6. Numerous personal conversations I have had with former and present

             Hells Angels members.

     1.4.7. Reading articles, books and reports involving OMGs, including a report

             of European Police Office (Europol) entitled, The Hells Angels MC: A

             Criminal Organization, 1st edition, (2012) (Europol Report). In

             Annexure B to this report, I include a bibliography of the publications

             that I have relied upon in preparing this report.

1.5. In my capacity as an OMG Investigator and Instructor, I have the opportunity to

    attend a number of national and international conferences on the subject of

    OMGs, as either presenter or attendee. Generally, topics include new trends,

    specific information regarding OMGs, involvement in criminal activity, the

    meaning of old and new patches and tattoos, updates on gang membership and, in

    the case of international conferences, overviews of OMGs from investigators

    from different countries. Ex-members of OMGs are made available for a




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      question period where investigators can ask about gang structure, gang activity,

      business etc. These conferences provide an opportunity to discuss OMGs with

      other investigators from around the world

  1.6. I have been asked to prepare this report by the NSW Crown Solicitor’s Office on

      behalf of the NSW Commissioner of Police. A copy of my letter of instructions

      appears in Annexure C to this report.

  1.7. This report will summarize the history, the background and the characteristics

       that make up the Hells Angels. I believe the content supports my opinion that

       the Hells Angels are a world wide criminal organization.

2. DECLARATION

  2.1. This statement of opinion is impartial and based upon open-minded reasoning. I

       reserve the right to add, amend, alter, retract and/or develop my opinion further,

       if I am subsequently exposed to any further evidence, facts or issues. I am

       aware that my primary responsibility is to ensure I do not mislead the court

       through being less informed than my role demands. I am prepared to consider

       any new facts that are presented to me.

  2.2. Throughout my statement of opinion below, I have made footnotes to specific

       incidents and examples. My knowledge on the specific topics is not just limited

       to these footnotes, but is also based upon the sources of information that I have

       identified in paragraphs 1.4 and 1.5 above.

  2.3. I, Jorge Gil-Blanco, acknowledge for the purpose of Rule 3l.23 of the Uniform

       Civil Procedure Rules 2005 that I have read the Expert Witness Code of

       Conduct in Schedule 7 to the said rules and agree to be bound by it.




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3. FORMATION OF OUTLAW MOTORCYCLE GANGS – 1%’ER PHENOMENA

  3.1. In this part of my report, I provide an overview of the emergence of OMGs,

       which are sometimes referred to as “1%ers”. The information I set out in this

       part of my report is based upon: Books read, documents seized, conversations

       with former members, conversations with other Hells Angels experts. The

       history of the Outlaw Motorcycle Gang (OMG) experience has spanned over the

       last 60 years. There are several different accounts on how the term “1%’er”

       evolved. My statement of opinion does not profess to provide an authoritative

       perspective of that history. The incidents leading up to the birth of the 1% scene

       do not bear in any way on the content of the opinion I provide on whether the

       Hells Angels Motorcycle Club is a criminal organization.

  3.2. The OMG experience began in the United States in the 1940’s, after the end of

       World War II (WWII). A segment of American veterans returned home and

       missed some of the aspects of the wartime military. They began riding

       motorcycles in groups to have the sense of adventure and camaraderie they

       missed from the war. OMGs calling themselves the “Pissed Off Bastards Of

       Bloomington” (POBOB), “Market Street Commandos” and the “Boozefighters”

       were formed.

  3.3. The American Motorcycle Association (AMA) was founded in 1924. At its

       inception, it inherited the organization of the Gypsy Tours from the Federation

       of American Motorcyclists (FAM). The Gypsy Tours featured rides and various

       motorcycle competition events that included hill climbs, dirt-track events, and




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             motorcycle games such as slow races, stake races and plank riding. The Gypsy

             Tours were cancelled during WWII but brought back after the war 2.

      3.4. “On July 3, 1947, the festivities in Hollister began. Around 4,000 motorcyclists

             flooded Hollister, almost doubling the population of the small town. They came

             from all over California and the United States. Motorcycle groups in attendance

             included the POBOBs, the Boozefighters, the Market Street Commandos and

             the Galloping Goose Motorcycle Club. The town was completely unprepared for

             the number of people that arrived. Initially, the motorcyclists were welcomed

             into the Hollister bars, as the influx of people was great for business. But soon,

             they started causing a problem in Hollister. The drunken motorcyclists were

             riding their bikes through the small streets of Hollister and consuming huge

             amounts of alcohol. They were fighting, damaging bars, throwing beer bottles

             out of windows, racing in the streets, and other drunken actions. By the evening

             of July 4, ‘they were virtually out of control’. This was all too much for the

             seven-man police force of Hollister to handle. The police tried to stop the

             motorcyclists' activities by threatening to use tear gas and by arresting as many

             drunken men as they could. The ruckus continued through July 5 and slowly

             died out at the end of the weekend as the rallies ended and the motorcyclists left

             town.” 3 The POBOBs played an integral role in the Hollister incident, on which

             the movie "The Wild One" was based staring Marlon Brando. Two months

             later the same clubs went to Riverside, California for the Labor Day weekend,

             another AMA sanctioned event. The same thing happened again as it did in

2   AMA website; http://www.americanmotorcyclist.com/about/history
3   Hollister riot - Wikipedia, the free encyclopedia: en.wikipedia.org/wiki/Hollister_riot




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             Hollister. Over 4,000 people, bikers and citizens, took over the town's main

             street 4.

      3.5. There are several versions of how the term “1%er” was coined. The most

             popular version is that the AMA was embarrassed by the actions of the

             participants of the rioting that took place in Hollister and Riverside and

             attempted to distance themselves from the participants. The AMA stated, “the

             trouble was caused by the one percent deviant that tarnishes the public image of

             both motorcycles and motorcyclists”. The other version was attributed to the

             secretary of the AMA who stated that “the disreputable cyclists are possibly one

             percent of the total number of motorcyclists; only one percent are hoodlums and

             troublemakers”. 5

      3.6. Another version is that the AMA made a statement that “ninety-nine percent of

             the motorcyclists are good people enjoying a clean sport and it's the one percent

             that are antisocial barbarians”. 6

4. HISTORY OF THE HELLS ANGELS

      4.1. In this section of my report, I provide an outline of the history of the Hells

             Angels. The information I set out in this part of my report is based upon: Books

             read, documents seized, conversations with former members, conversations with

             other Hells Angels experts. There are several versions of the inception of the

             Hells Angels. The first chapter of the Hells Angels was established on March

             17, 1948 in San Bernardino (Berdoo) County, California. There were several

             other Hells Angels chapters in California (San Gabriel, North Sacto, Sacto, etc)

4   POBOB website; http://www.pobob.com/info.php
5   Born to Be Wild: A History of the American Biker and Bikes 1947-2002 By Paul Garson, Editors of Easyriders.
6   POBOB website; http://www.pobob.com/info.php


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             that were established prior to the 1960s, however they did not survive and are

             not listed anywhere 7.

      4.2. The Hells Angels were named after a WWII bomber squadron called the Hell’s

             Angels 8.

      4.3. There were two other chapters formed, San Francisco (Frisco) in 1954 and

             Oakland in 1957. All three were operating independently of each other until

             Sonny Barger brought them together as one organization.

      4.4. At first, the Hells Angels was a “loose knit” group

             with a lot of infighting among members. The

             original patch that was worn on the back of their

             vests was nicknamed the “bumblebee patch.” It

             consisted of a winged skull with an aviator’s cap

             that resembled a bumblebee.




7   “The Rebels: A Brotherhood of Outlaw Bikers”, written by Daniel Wolfe, University of Toronto (1991), “Outlaw
    motorcycle clubs do not have a written history, only an oral one, a mythology made up of intangible recollections
    and stories that can easily be swept away. The only tangible vestiges of the club’s past are the club minutes and
    photograph albums that are kept in the clubhouse, along with the pins that members wear on their colours”, p. 70
8   Hell’s Angels World War II 303rd B-17 Bomber Group, http://www.303rdbg.com/


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    4.5. Under the tutelage of Sonny Barger, the Hells Angels became more organized

           and developed rules 9. In 1959,

           a detailed winged skull with an

           aviator’s cap became the Hells

           Angels back patch that was

           named the “death head” and

           also referred to as the “Barger Larger” patch. 10 This “death head” had an open

           mouth.

    4.6. In 1987, at the conclusion of Operation Cacus 11, a third version of the

           "deathhead" emerged. This

           “deathhead”, which is the current

           “official” Hells Angels patch,

           has a mouth that is stitched

           shut. The significance of the

           stitched closed mouth is that “we don’t talk about club business.” 12

5. HELLS ANGELS WORLD EXPANSION

    5.1. The first chapter that was established outside of California and the United

           States, and the fourth oldest existing chapter, is the Auckland, New Zealand

           chapter that was formed in 1961. 13 Since then, the Hells Angels has grown to




9  Ralph 'Sonny' Barger (with Keith and Kent Zimmerman), Hell's Angel: The Life and Times of Sonny Barger and
   The Hell's Angels Motorcycle Club (New York: Harper Collins, 2000), p. 32
10 Ralph 'Sonny' Barger (with Keith and Kent Zimmerman), Hell's Angel: The Life and Times of Sonny Barger and

   The Hell's Angels Motorcycle Club (New York: Harper Collins, 2000), p. 33
11 Operation "Cacus", was a FBI investigation that utilized Alaska and West Coast Sergeant-at-arm Hells Angels

   member, Anthony Tait, as a confidential informer
12 Personal conversation with Anthony Tate
13 Hells Angels website; http://affa.hells-angels.com/




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          four hundred plus (400+) chapters located in forty-six (46) countries, 14 with an

          estimated membership of five-thousand (5,000) 15, not including “Prospect” and

          “Hangaround” chapters.

     5.2. The Hells Angels started their major expansion internationally in the 1970s.

          Their international expansion was due to the increase in their criminal networks

          in order to stay ahead of their competition.

          5.2.1. George Wethern, who at the time was Vice-President of the Oakland

                   Hells Angels Chapter, stated in his book, A Wayward Angel: The Full

                   Story of the Hells Angels (1978) “We didn’t believe in granting

                   chapters for the sake of growth, nor to provide us with a place to stay

                   when we were on vacation. The additions were designed to contribute to

                   our image and business concerns, by providing a drug route link,

                   manufacturing a drug, supplying chemicals or distributing drugs in an

                   untapped area” 16

     5.3. Based on my experience as an OMG investigator, George Wethern’s statement

          is truly representative of the expansion and growth exhibited by the Hells

          Angels throughout the world.

     5.4. In 1975, the first Australian Hells Angels chapters were formed in Sydney and

          Melbourne. 17




14 Hells Angels website; http://affa hells-angels.com/
15 Based on conversations with OMG investigators worldwide
16 George Wethern and Vincent Colnett, A Wayward Angel: The Full Story of the Hells Angels (Richard Marek

   Publishers, 1978), p. 102
17 Hells Angels website; http://affa hells-angels.com/ - HA Charters Worldwide




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6. STRUCTURE OF THE HELLS ANGELS

       6.1. In this part of my report, I describe the structure of the Hells Angels. The

              information I set out in this part of my report is based upon: Books read,

              documents seized, conversations with former members, conversations with

              other Hells Angels experts. The Hells Angels is a highly structured worldwide

              organization. It is a “one man one vote” organization 18.

       6.2. When considering what and who the Hells Angels is, we must recognize that

              some aspects of Hells Angels have changed significantly from 1948 to today

              while other aspects have remained the same. The core values of the Hells

              Angels have remained the same. All of the Hells Angels chapters subscribe to

              the same basic Hells Angels values. In other words, the Hells Angels in the

              United States is the same Hells Angels as the Hells Angels in Australia, Europe,

              Canada and other countries. They are all guided by the Hells Angels World

              Rules. In addition the Hells Angels have country rules and chapter rules.

              6.2.1. As Sonny Barger says in his book: “The chapters have their own

                      identity, but they share the same core values.” 19

       6.3.     The base organizational unit of the Hells Angels is the chapter. Each chapter

              elects officers such as a President, Vice-President, Secretary, Treasurer, and

              Sergeant-at-Arms. The officers are responsible for raising money, planning

              social events, maintaining order and discipline and interacting with other

              chapters and the executive groups of the Hells Angels organization.



18   Hells Angels World Rule Nov 29, 1986 – One man, one vote
19   Ralph 'Sonny' Barger, with Keith and Kent Zimmerman, Hell's Angel: The Life and Times of Sonny Barger and
     The Hell's Angels Motorcycle Club (Harper Collins, 2000), p. 33


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           6.3.1. President: The leader with absolute power. He can veto decisions

                    made by members on matters concerning club business. Some run their

                    charter with an iron fist. Others run it more democratically. 20

           6.3.2. Vice-President: Takes the place of the President in his absence. 21

           6.3.3. Secretary: Takes notes at chapter meetings. Usually takes care of all

                    chapter email and correspondence. Is the keeper of the minutes. 22

           6.3.4. Treasurer: Handles financial matters such as collecting chapter dues,

                    fines, and money for defense funds, pays chapter bills and writes

                    checks. 23

           6.3.5. Road Captain: In the United States, this position is mostly a collateral

                    duty and not considered an Officer/Executive position. He would be in

                    charge of organizing club motorcycle “runs”. He maps out the route of

                    the run, the destination and the stops for gas and food. He is also

                    responsible for the safety of the group while traveling. 24

           6.3.6. Sergeant-at-Arms: He is responsible for chapter discipline. He can

                    impose fines at chapter meetings and mediate disputes between

                    members. He answers directly to the president and can obtain consent

                    from him to use force or violence in dealing with another member who

                    has disobeyed the rules of the club. When a member is demoted, the

                    Sergeant-at-Arms is responsible for reclaiming and maintaining possession




20 Based on my conversations with former Hells Angels members
21 Based on my conversations with former Hells Angels members
22 Based on my conversations with former Hells Angels members.
23 Based on my conversations with former Hells Angels members
24 Based on my conversations with former Hells Angels members




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                    of that member’s colors. He also knows who has the weapons (firearms) 25

                    in the chapter. He will enforce the covering up of tattoos on ex-members

                    that are supposed to cover them up 26. (Refer to sections 7.1.6 through

                    7.1.7.4 for details on “Rules Regarding Tattoos”).

     6.4. The remainder of the chapter consists of Members, Prospects, and Hangarounds.

           Each chapter is required to have six (6) “full patched” members in order for the

           chapter to operate. Once a chapter goes under the mandatory six (6) members,

           the chapter must shut down or be “frozen” until the membership reaches that six

           (6) member threshold.

           6.4.1. A chapter can be “frozen” for a drop in members on “the street” (not

                    incarcerated) or loss of members in that chapter: For example, seized

                    minutes record “France: Toulouse charter frozen due to the fall in

                    membership.” 27

           6.4.2. A chapter can also be “frozen” due to action taken by region vote. In

                    reviewing the Hells Angels West Coast Officer Meeting (WCOM)

                    minutes, I found the following entries showing how a chapter was

                    “frozen” due to the gang rivalry between the Hells Angels and Vagos:

                    6.4.2.1. “April 14, 2007 WCOM: SONOMA CO: …….. Our whole

                               charter is seriously upset with Shasta CO’s recent conduct.” 28




25 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,
   Debrief by Canadian Biker Enforcement Unit and me, Dated September 12th, 2013 – “The Sergeant at Arms is
   aware of who has weapons, who will bring them. He doesn’t necessarily have them himself.”
26 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,

   Debrief by Canadian Biker Enforcement Unit and me, Dated September 12th, 2013 – “The Sgt of Arms looks after
   that, he’s supposed to make sure and if you don’t a crew can be sent out to make sure it’s done.”
27 Annex 116 - World & Euro Minutes Zagreb 07-11-08 (1021395-2-1)
28 April 14, 2007 WCOM, seized pursuant to SW at Berdoo Clubhouse on 7-24-07, which I monitored




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             national charter and maintain the group’s power, persona, and reputation” 31.

             They take care of their own internal disciplinary measures against members and

             the criminal activities of the chapter with regard to its territory.

       6.6. Each Chapter conducts regularly scheduled weekly meetings, referred to as

             “church”. Strict rules of order are followed and minutes taken. Chapter meetings

             mostly concern legitimate activities, such as planning social events, voting in new

             members, and the like. Additionally, chapter meetings often involve the discussion

             of criminal activities, for example the encouraging of assault and/or retaliation. If

             questions concerning criminal activities arise, the utmost security to prevent

             detection is used. They will use hand signals and/or write on paper to meet

             outside and discuss. They will meet outside the clubhouse where they feel more

             secure about not being bugged (listening devices). Sometime, however, they

             will discuss openly at their meeting(s). (As an example, refer to paragraph

             6.4.2.2.1. – The Sonoma charter discusses how they are upset with Shasta and

             want the members kicked out as they did not “handle the situation properly” and

             it “reflects badly” on the Hells Angels. The “situation” they were referring to

             was that the Vagos (a rival OMG) had established a chapter in the Redding

             (Shasta County) area after the Hells Angels had shut down Hellbent MC, a

             Hells Angels support club, in Shasta County. The Vagos made the 13 members

             of Hellbent full patch Vagos overnight and the Hells Angels were upset. There

             were several violent confrontations between the Vagos and Shasta Charter




31   James Quinn and D. Shane Koch, Deviant Behavior: The Nature of Criminality within One-Percent Motorcycle
     Clubs (University of North Texas, 2003), page 288.


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              members. Sonoma felt that Shasta was unable to properly make the Vagos back

              down. 32

       6.7. The United States Hells Angels is comprised of 78 chapters, which are divided into

              two executive groupings: the West Coast and the East Coast. The West Coast is

              comprised of chapters west of Denver, Colorado. The East Coast is comprised of

              all chapters east of Omaha, Nebraska.

       6.8. Each executive group is comprised of a President, Vice-President, Secretary,

              Treasurer, Sergeant-at-Arms, and East and West Coast Representatives, who are

              drawn from the officers of the various chapters within each grouping. These groups

              comprise the elite leadership of Hells Angels in the United States. The two officers'

              committees meet regularly at what is commonly referred to as the West Coast

              Officers’ Meeting (WCOM) and East Coast Officers’ Meeting (ECOM). The

              WCOM is held monthly, alternating between the Oakland clubhouse and the

              Berdoo clubhouse. The ECOM meets every six (6) weeks at varying East Coast

              clubhouses. An East Coast Representative will attend the WCOM and a West Coast

              Representative will attend the ECOM. WCOM and ECOM officers discuss diverse

              activities including resolving disputes among chapters and members, reporting on

              events of interest and on funds coming in and money disbursed by the Hells Angels

              Defense Funds. As with individual chapter meetings, officers also have engaged in

              criminal activities (such as assault, battery, and conspiracy) at these officers

              meetings, as explained in the next paragraphs.

              6.8.1. One such incident was related to me by former Hells Angels Oakland

                       chapter Vice-President Robert Sandy:

32   Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,
     debriefed by me and my investigation of incidents involving Hells Angels and Vagos in Shasta County.


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                      6.8.1.1. Sandy related an incident where Rick Mar (Hells Angel

                                Monterey chapter president) had given an interview to the

                                news media. Mar talked about Club business to the media

                                regarding membership information. The Oakland chapter was

                                not happy about the interview and had the entire Monterey

                                Chapter appear at an Oakland “church” to answer questions.

                                Sandy related that this was done to administer a beating to the

                                Monterey chapter members for talking about Club business to

                                outsiders. Sandy stated that it would start with questioning of

                                the members and would proceed with a beating. Sandy stated

                                he participated in the beating and that there was also a visiting

                                Australian member that administered a beating to Mar. 33

                      6.8.1.2. Sandy stated he was familiar with approximately three other

                                instances where the Oakland Chapter made other chapters

                                appear in front of them at meetings in order to administer a

                                beating. One instance was at a WCOM, where members of

                                other chapters beat members of the Vallejo Chapter, but it was

                                initiated by Oakland. 34

       6.9. The Hells Angels hold international meetings twice a year called “World

             Meetings.” Each “World Meeting” is alternated between different countries. They

             will schedule one of the meetings to coincide with the Hells Angels “World Run”.

             During these meetings, they discuss any problems and concerns that the world



33   Robert Sandy (Oakland HA member) Debrief by FBI Agent Michael LaPlante and me, dated 3 April 1998
34   Robert Sandy (Oakland HA member) Debrief by FBI Agent Michael LaPlante and me, dated 3 April 1998


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           chapters have. They also discuss corporation issues at the national and

           international level. Motions are made and put up for a vote, amendments or new

           rules are sometimes adopted. Chapter representatives will in turn take the

           information back to their countries where it will be disseminated at the local

           chapter level. Minutes for these meetings are usually transported via digital media

           such as flash drives.

           6.9.1. “There will be at least one (1) member from every HAMC charter &

                    prospect charter at all World Runs. Penalty: 1000 US donation to be paid

                    to the host country. Extenuating circumstances will be considered.” 35

           6.9.2. “Each country to have at least 2 representatives at all World Meetings.

                    Penalty: Fine for missing World Meeting will be $2,000 U.S. funds to be

                    paid to the host country by the next World Meeting, if only one country

                    representative is present. Exceptions must be appealed with an acceptable

                    reason by the next world meeting.” 36

     6.10. There is also a Hells Angels Corporation that oversees the development and

           protection of the trade marking of the Hells Angels "deathhead" and other Hells

           Angels signs and symbols (i.e. “81”, “Big Red Machine”, etc).

7. HELLS ANGELS IDENTIFIERS

     7.1. In this part of my report, I describe the identifiers of the Hells Angels. The

           information I set out in this part of my report is based upon: Documents seized,

           conversations with former members, conversations with other Hells Angels

           experts. There are a variety of clothing identifiers for Hells Angels members,


35 Hells Angels World Rules section addressing “Organizational Rules” – Seized during search warrant at Dago
   Clubhouse 8-3-11, which I monitored
36 Hells Angels World Rules section addressing “Organizational Rules” – Seized during search warrant at Dago

   Clubhouse 8-3-11, which I monitored


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             prospects, hangarounds, and associates. The “club” or “gang” colors of the

             Hells Angels are “Red & White.”

             7.1.1. Members: Can be identified by their official emblem, commonly called

                      “colors,” “patches” or “cuts”. The colors are worn on a sleeveless denim

                      vest, sleeveless or half sleeve leather vest. They can also be identified

                      by the wearing of “soft colors,” which is anything other than the above

                      described vest (i.e. jacket, shirt, t-shirt, etc.). On the back of the

                      “colors” the Hells Angels winged deathhead is sewn in the center along

                      with a patch indicating “MC” (Motorcycle Club). Above these insignias

                      is a top rocker indicating the name “Hells Angels,” below is a bottom

                      rocker that indicates a state, province, region, or country in which the

                      chapter is located. The one exception is with the German chapters,

                      which designate the particular chapter on the bottom rocker. The top

                      and bottom rockers have a white background with red lettering. On the

                      front of their vest they typically wear a deathhead pin, chapter

                      designator, rank and/or other assorted patches that will be discussed in

                      another section.

                      7.1.1.1. Colors are a member’s most valued possession. They are told

                                 that all Hells Angels colors and paraphernalia are property of

                                 the Hells Angels Corporation. Once they attain official

                                 hangaround status, all candidates are required to sign a contract

                                 to this effect. 37



37   Annex 83a to the Europol Report entitled “Corporation Property Agreement” (142491_001))


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 7.1.2. Prospects: Wear a vest that has on the back a bottom rocker that

        indicates a state, province, region, or country in which the chapter is

        located. Above the bottom rocker is the “MC” patch. There are no

        other patches on the back. On the front of the vest, they wear either a

        red and white patch with the word “Prospect” and the chapter to which

        they belong. These two patches are worn on the front left breast. A

        prospect can also wear a “soft color” t-shirt with the bottom rocker and

        MC on the back.

 7.1.3. Hangarounds: Commonly wear a vest with a red background and

        white lettering that designates the chapter they are a hangaround for.

        This is worn on the front left breast. In some areas of the West Coast

        USA, hangarounds wear a rectangular patch with a red background and

        white letter with the chapter designation, on the back bottom of their

        vest. This is commonly referred to as a “license plate.”

 7.1.4. Associates: Can be seen wearing “support” clothing and/or patches on

        their vests (i.e. t-shirts sold by various chapters of the Hells Angels that

        show logos such as “Big Red Machine,” “Red & White Support,” etc.).

        Some associates wear no distinguishable clothing at all.

 7.1.5. Rules Regarding Colors: The Hells Angels have a set of written rules

        called the “Hells Angels Motorcycle Club World Rules.” These rules

        are crafted into a bound book and have been distributed to each Hells

        Angels chapter worldwide. Each chapter is issued a Rule Book with its

        number on it. The number corresponds with the order in which the




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                    chapter was established (i.e. Berdoo would be #1, Frisco would be #2,

                    Oakland would be #3, etc.). 38

                    7.1.5.1. “Constitutional Rules” –

                                7.1.5.1.1. “Members can have only one set of patches at a

                                             time. (Racing patch exception)”; “Members must

                                             wear the same computer design style patch.” 39

                    7.1.5.2. “Prohibitive Rules” –

                                7.1.5.2.1. “No more support t-shirts with HELLS or ANGELS

                                             on it to be sold to the public”;

                                7.1.5.2.2. “ALL support gear (shirts, hats, rings, key chains,

                                             anything) MUST say “support” with the number 81

                                             and must NOT have indicia that closely resembles

                                             our own (i.e. rockers, deathheads and lay out)

                                             Penalty: $500 U.S. fine paid to regional treasury” 40

                    7.1.5.3. “Standard Rules” –

                                7.1.5.3.1. “All countries and members will adhere to our

                                             tradition of 10 year members and older having the

                                             privilege and retaining the right exclusively to wear

                                             belt buckles portraying both the name HELLS

                                             ANGELS and the DEATH HEAD”;



38 Annex 22 to the Europol Report– entitled “Address to the World meeting in Rio (World Rules Committee letter)”
   (1021395-2-1)
39 Section addressing “Constitutional Rules” – Seized during search warrant executed at Hells Angels Dago chapter

   clubhouse on 3 August 2011, which I monitored
40 Section addressing “Prohibitive Rules” – Seized during search warrant executed at Hells Angels Dago chapter

   clubhouse on 3 August 2011, which I monitored


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                                  7.1.5.3.2. “Members can have only one set of patches at a

                                               time. (Racing patch exception)”;

                                  7.1.5.3.3. “Members must wear the same computer design

                                               style patch”;

                                  7.1.5.3.4. “Only Hells Angels will wear Hells Angels

                                               paraphernalia. No ex-member or ex-prospect will

                                               possess any club property/indicia I.E. (all patches,

                                               plaques, apparel, jewelry, paint jobs) including

                                               indicia on all personal websites. Penalty: Club

                                               property to be returned, charter responsible to pay

                                               a fine of $500 U.S. with explanation at the

                                               ‘appropriate forum’ Amendments: Options – to

                                               give a certificate of service. Name of member, date

                                               in and out, in appreciation from charter”;

                                  7.1.5.3.5. “There will be nothing on the back of the patch except

                                               the colours, which is HELLS ANGELS, DEATHHEAD,

                                               MC, and COUNTRY/STATE/CHARTER”;

                                  7.1.5.3.6. “For all charters/City and Officer tags or “flashes”

                                               to be rectangular in shape with square corners.

                                               Penalty: 500 US dollars per tag to be paid to the

                                               corporation. Fines to be paid to the account where

                                               your annual Corporation fees are paid.” 41


41   Section addressing “Standard Rules” – Seized during search warrant executed at Hells Angels Dago chapter
     clubhouse on 3 August 2011, which I monitored


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   7.1.5.4. “Traditions” – “Traditions are beliefs or customs passed on

            from one generation to the next, often verbally, that are

            undocumented but are understood to be respected and followed.”

            7.1.5.5.    “Old patches are destroyed by burning”;

            7.1.5.6.    “No use of another country’s or charters Deathheads,

                        side rockers, front flashes etc. without their

                        permission”;

            7.1.5.7.    “If you wear your charter tag, your own charter pin,

                        a world pin, and/or an officer tag, it should be on the

                        left breast”;

            7.1.5.8.    “Belt buckles with the words HELLS ANGELS and a

                        DEATHHEAD are to be worn only by members who

                        have at least 10 years in the club”;

            7.1.5.9.    “Belt buckles with the words HELLS ANGELS and an

                        Enamel DEATHHEAD are to be worn only by

                        members who have at least 20 years in the club”;

            7.1.5.10.   “Only members can ride a motorcycle with Hells

                        Angels insignia, except in extenuating

                        circumstances”;

            7.1.5.11. “All side view Deathhead pins and patches should

                        face the same way as our back patch, except in the

                        case of opposing pins or patches”;




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                                  7.1.5.12.     “No member should possess anniversary jewelry

                                                which he is not entitled to wear.” 42

              7.1.6. Rules Regarding Tattoos: The rules vary from chapter to chapter. Some

                       require a Hells Angels tattoo whereas some do not. The Hells Angels

                       refer to any variation of the “deathhead” tattoo (frontal or side views) as a

                       “club tattoo.” The Hells Angels also consider the wording “Hells Angels”

                       as a “club tattoo”.

              7.1.7. As a general rule, however, the majority of Hells Angels members get a

                       Hells Angels tattoo as soon as they attain full membership. I have seen at

                       least one Hells Angel member who did not have any Hells Angels tattoo

                       (Gary Minnich – Daly City). Some chapters require that a member get a

                       Hells Angels tattoo one year from attaining full membership, whereas

                       others require a Hells Angels tattoo by the next “church” meeting. 43

                       7.1.7.1. Some rules about tattoos are:

                                  7.1.7.1.1. “Must be in the club 5 years before getting a back

                                                patch.” 44

                                  7.1.7.1.2. “Prospects may get a prospect tattoo (upon

                                                approval).” 45



42   Section addressing “Traditions” – Seized during search warrant executed at Hells Angels Dago chapter clubhouse
     on 3 August 2011, which I monitored
43   Vallejo Hells Angels Motor Cycle (HAMC) Rules – Seized during search warrant executed at Hells Angels Vallejo
     chapter clubhouse on 11 December 2013 by Alcohol, Tobacco and Firearms agents (I was not present at this search
     warrant)
44   Vallejo Hells Angels Motor Cycle (HAMC) Rules – Seized during search warrant executed at Hells Angels Vallejo
     chapter clubhouse on 11 December 2013 by Alcohol, Tobacco and Firearms agents (I was not present at this search
     warrant)
45   Vallejo Hells Angels Motor Cycle (HAMC) Rules – Seized during search warrant executed at Hells Angels Vallejo
     chapter clubhouse on 11 December 2013 by Alcohol, Tobacco and Firearms agents (I was not present at this search
     warrant)


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                    7.1.7.2. There are two ways of leaving the Hells Angels. Good standing

                               or bad standing. It is commonly referred to as “left” or “out.”

                               “Left” means the member is out of the Hells Angels in good

                               standing and is required to have an “out date” – date he quit the

                               Hells Angels - next to his “club tattoo.” “Out” means the

                               member was thrown out of the Hells Angels and he is required to

                               cover up his “club tattoos.” The covering of the tattoos can

                               either be with another tattoo, blacked out, or crossed out. I have

                               personally observed the above described tattoos on several ex-

                               members.

                    7.1.7.3. When a member is thrown “out,” the method of covering up the

                               tattoos varies based on the circumstances and/or the chapter. A

                               member can be given the option to have the tattoos covered by a

                               certain date and to report back to the chapter or members will

                               pay him a visit to ensure they have been covered up.

                    7.1.7.4. The most common method of covering up the tattoos is done in a

                               more violent manner. Many a member has been administered a

                               beating then held down while his tattoos are covered up. 46/ 47 It is

                               either completely blacked out or simply covered with an “X”.




46 People vs. Stephen Sanders, et al – San Diego County, California; Nicholas Neff – Dago HA SAA who was beaten
   and forcibly held while his tattoos were covered up by a HA member on 26 April 20007 (conversation that I had
   with victim and former Hells Angels member Nicholas Neff)
47 See Annexure D to this report, which shows photos of various HA tattoos – depicting both OUT and Left (Bad and

   Good Standing respectively)


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     7.2. PATCHES & SIDE ROCKERS: There are many patches that have a particular

           meaning and some that don’t have any meaning other than to the individual

           member. Based on my experience as an OMG investigator and the debriefs of

           prior Hells Angels members and a former individual

           confidential source, below are the meaning of some

           patches:

           7.2.1. DIRTY WHITE BOY – Connected more to

                    charters from the south means fight to the end. 48

                    Red & white patch. Used internationally

                    by Hells Angels members.          (Photo obtained from ATF

                    Analyst Michael Will – from Hells Angels World Run 2013 held

                    in Hungary)




           7.2.2. DEQUIALLO - Assaulting a police

                    officer (whether of or on-duty). 49

           7.2.3. WARRIOR – Means “Taking Care of

                    Business” (TCB). Comes in both side

                    rocker and patch. Red & white. 50 (Photo

                    obtained from ATF Analyst Michael Will – from Hells Angels

                    World Run 2013 held in Hungary)




48 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,
   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013
49 Several debriefs of former Hells Angels members and Former Individual Confidential Source, member of United

   States chapter that needs to be kept confidential, Debrief by Canadian Biker Enforcement Unit and me dated
   September 12th, 2013
50 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,

   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013


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           7.2.4. BRUTAL/BRUTAL SQUAD – Means TCB, used by chapters in Myrtle
                                                                                          51
                    Beach USA Area. Predominantly worn as a side rocker.                       (Photos obtained

                    from various surveillances by ATF personnel and me)




           7.2.5. DIXIE – Worn by members from the south of the Mason-Dixon line, a

                    southern boy. Someone from the south can give the patch to another

                    member. Comes in both patch and side rocker (different variations).

           7.2.6. WAR – We Are Ready; member is ready to go to

                    war with anyone. Comes in both side rocker and

                    patch. Red & white. 52 (Photo obtained from various

                    surveillances by ATF personnel)

           7.2.7. FILTHY FEW – Means the wearer has

                    committed an act of violence for

                    the benefit of the gang, from a

                    beating to a killing. 53 Comes in

                    patch, side rocker and tattoo.      (Photo obtained from various surveillances by me)




51 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,
   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013
52 Several debriefs by me of former Hells Angels members and Former Individual Confidential Source, member of

   United States chapter that needs to be kept confidential
53 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,

   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013


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              7.2.8. 666 - (FFF) Filthy Few Forever. Another variation of Filthy Few. It is

                       seen on side rockers, tattoos, pins and patches.

                       7.2.8.1. “Well the black and white one with the “666”, “FFF” or

                                   lightning bolts between

                                   the words means that

                                   you’ve killed for the

                                   club. Like a Mongols

                                   or an Outlaw who’s colors are black and white. You can only

                                   get a patch from another filthy few member. The killing has to

                                   be witnessed. And if you are a member and another filthy few

                                   member calls on you, you have to go do the task. There are

                                   Filthy Few patches that are red and white, but they don’t mean

                                   the same those are just handed out for stuff like fighting. For

                                   example a lot of chapters before you make full patch they want

                                   you to commit a felony or draw blood.” 54 (Photo obtained from various

                                   surveillances by me)

              7.2.9. STURGIS WRECKING CREW – Was at Sturgis Annual Event and

                       committed an act of violence for benefit of gang. Patch.

              7.2.10. WRECKING CREW – Means TCB. Side rocker.




54   Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,
     Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013


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           7.2.11. DOG SOLDIER – Its like Dawn Patrol or Wrecking Crew means TCB 55.

                    “The Dog Soldiers or Dog

                    Men was one of six military

                    societies of the Cheyenne

                    Indians. Dog Soldiers were noted as both highly aggressive and effective

                    combatants.” 56 The meaning for the Hells Angels is that they consider

                    themselves warriors and "soldiers" for the HA. Any member can wear it

                    as a statement, you don't have to "earn it." Red & white patch. (Photo

                    obtained from various surveillances by me)

           7.2.12. FRONTLINE – Means that the person who wears the patch was involved

                    in a street war with a rival

                    gang. In Canada, the only

                    members who wear the

                    frontline patch are the

                    members in Quebec who were in the war with the Rock Machine, another

                    OMG. Black and white patch or tattoo. 5758           (Photo taken by me on 7/20/2013 during

                    2013 Canada Run in Vancouver, BC)




55 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,
   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013
56 Wikipedia, http://en.wikipedia.org/wiki/Dog Soldiers
57 Detective Sgt Len Isnor debrief of Oshawa HA member, Steven Gault 2006 (I was not present during this

   interview)
58 Timothy Jordan Debrief by BEU Detective Sgt Raymond Wolf and me, dated September 13, 2010 – “A member

   who was in a war”


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           7.2.13. FRONTLINE CREW – The black and white

                    (patch) were given to those members who were

                    arrested at the Laughlin River shootout (between

                    Hells Angels and
                                              Raymond Foakes – Threw
                                              kick that started incident
                    Mongols) in April

                    2002. 59

                    In Canada, the patch means that the person who wears the patch was

                    involved in a street war with a rival gang. 60

                    The red and white (patch & side rocker)

                    means they are soldiers on the front line of

                    the war against rivals. 61

           7.2.14. BUSHIDO – A patch designed by John “Fuki” Fukushima (Oakland HA)

                    meaning “Way of the Warrior.” Red and

                    white patch.

           7.2.15. MASTERS OF MENACE – From New York City; taking care of

                    business (TCB) 62.

8. HELLS ANGELS RULES

     8.1. In this part of my report, I discuss the rules that govern the Hells Angels. The

           information I set out in this part of my report is based upon: Documents seized,

           conversations with former members, conversations with other Hells Angels

59 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,
   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013
60 Detective Staff Sgt Len Isnor interview of Steven Gault (Oshawa HA member) (I was not present during this

   interview)
61 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,

   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013
62 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,

   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013; Timothy Jordan Debrief by
   BEU Detective Sgt Raymond Wolf and me dated September 13, 2010


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            experts. As delineated in paragraph 7.1.5, there are written rules for the Hells

            Angels that address the entire worldwide organization. All Hells Angels chapters

            are expected to abide by these rules.

     8.2. There are also Country Rules (i.e. USA Rules, Canada Rules, Australia Rules,

            etc.). In the United States, in addition to the country rules, there are East Coast,

            West Coast and Chapter Rules. 63

     8.3. In addition to written rules, there are also “unwritten” rules. Not all the rules,

            written or unwritten are related to criminal activity. Some of the unwritten rules

            remain unwritten so that law enforcement cannot use it against the Hells Angels

            to show their criminality. Some of the unwritten rules are: 64

            8.3.1. No testifying for the prosecution

            8.3.2. No making statements to police

            8.3.3. No calling 911

            8.3.4. No making comments to the media

            8.3.5. Duty of Prospect is to ensure safety of Full-Patch Member

            8.3.6. Cell phones and pagers – remove batteries and put in box prior to WCOM

            8.3.7. No female members

     8.4. The Hells Angels are looking for someone who is sophisticated and successful in

            a criminal way. 65 Based on my experience, conversations with former Hells

            Angels members and the criminal activity that I have consulted about and


63 Hells Angels World, USA, West Coast & East Coast Rules, seized pursuant to a search warrant executed on the
   Hells Angels Mesa chapter clubhouse on 25 August 2011 (I was not present during this search warrant)
64 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,

   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013
65 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,

   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013: “Well they have to have and
   ride a motorcycle, they should be sophisticated and successful, but in a criminal way. They are a benefit to the club.


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              investigated, the Hells Angels want prospective members and members who are

              able to conduct their criminal activity (i.e. distribute controlled substances,

              commit extortions, commit assaults) without bringing too much heat to the

              organization. They should be able to make money and maintain the reputation of

              the Hells Angels of fear and intimidation without being investigated by the police.

       8.5. Rules regarding qualifications for membership:

              8.5.1. “No undesirables in the club! For example: No snitches, junkies, cops or

                       ex-cops, etc. Membership shall be limited to men who are not and have

                       never chosen to belong to, or worked with any law enforcement agency or

                       authority which has the power of arrest or incarceration.” 66

              8.5.2. Must own a motorcycle

              8.5.3. Get noticed by chapter members

              8.5.4. Member of chapter has to vouch for person

              8.5.5. Must have full-patch member as sponsor

       8.6. Stages of membership in the Hells Angels:

              8.6.1. There are several stages in the process of becoming a full-patch member –

                       Associate/Friend, Hangaround, Prospect, and Member.

              8.6.2. Associate – Anyone can be an associate. A full-patch member introduces

                       the associate to the Hells Angels. Their background is thoroughly

                       checked. They are invited to various club functions including, but not

                       limited to runs. They generally assist Hells Angels members by

                       facilitating, promoting and protecting their criminal activities. As an


66   Hells Angels Motorcycle Club World Rules 2012, Section addressing “Constitutional Rules” – Seized during
     search warrant at Hells Angels Omaha Clubhouse 7-15-13 (I was not present)


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                       associate, they are not involved in the process of becoming a Hells Angel,

                       it is not an official status of the Hells Angels.

              8.6.3. Friend – Sometimes “Friend” and “Associate” are the same. A “Friend”

                       can be categorized as someone who donates money, attends parties,

                       donates to the cause and is allowed to hangaround the Hells Angels. 67

              8.6.4. Hangaround – This is the first stage in the process of becoming a Hells

                       Angel member. I refer to this status as a “non-voting” member of the

                       Hells Angels. They are commonly listed in the WCOM minutes and wear

                       a specific patch on their vest (see paragraph 7.1.3). There is no specified

                       amount of time a person remains a hangaround. Approval to be elevated

                       to “Prospect” status varies from chapter to chapter. Some chapters require

                       100% vote whereas others allow one NO vote to become a Prospect 68.

                       They cannot participate in meetings but guard the surroundings of the

                       meetings to ensure the safety of members attending. They are subservient

                       to all full-patched members of the chapter and must complete what they

                       are ordered to do. Hangarounds are required to pay club dues and

                       contribute to the defense fund.

                       8.6.4.1. “They make hangaround, they get a key and basically show up

                                  there and make sure the place is ready for the meetings, weekly




67   Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,
     Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013
68   Vallejo HAMC Rules – Seized during search warrant executed at the Hells Angels Vallejo chapter clubhouse 11
     December 2013 (I was not present)


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                                meetings, ah give people rides ah because the traffic tickets and

                                what not.” 69

                    8.6.4.2. “And then ah eventually, ah there’s no time period for a

                                hangaround, but ah it could be anywhere from 3 months to a

                                year.” 70

           8.6.5. Prospect – This is the second and final step in the process of becoming a

                    Hells Angel member. The prospecting period lasts a minimum of one year

                    and can last up to two years. To become a full-patched member takes a

                    unanimous 100% vote by the members of the chapter. I also refer to this

                    status as a “non-voting” member of the Hells Angels. They are commonly

                    listed in WCOM minutes and wear specific patches on their vest (see

                    paragraph 7.1.2). Prospects are required to pay club dues and contribute

                    to the defense fund. They demonstrate their loyalty, their ability to carry

                    out and obey orders, and to be actively involved in criminal activities.

                    Their main job is to make sure that nothing happens to a full-patch

                    member. 71 They are expected to be armed, especially while traveling with

                    full-patched members. 72 This is where loyalty and the mindset of the

                    individual are tested. The Hells Angels “own” a Prospect 24/7.

                    8.6.5.1. The best example of what is expected of a prospect and can be

                                seen in a document that has been seized from various Hells

69 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,
   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013
70 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,

   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013
71 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,

   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013
72 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,

   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013


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      Angels locations (Fresno Clubhouse and several Fresno

      members’ residences in 2003 and the Mesa Clubhouse in 2011).

      The document is entitled “What is an M/C?” and appears with a

      coversheet from “Chesty”, the Secretary of the Hells Angels

      Long Island chapter (What is an M/C Document). The

      document stated:

             “A serious M/C commands respect for one, or both, for two

               reasons:

             1. Those who are informed recognize the deep level of

               personal commitment and self discipline that a man has

               to demonstrate and in order to wear a patch. So much so

               that it is akin to being a full time profession for the

               individual. They realize that a club's Colors are closely

               guarded and the membership process is long and

               difficult. All else put aside, you have to respect the man

               for what he has accomplished by being able to earn and

               keep the Patch he wears.

             2. Those who are less informed see only the surface of

               things. They see the vigilance of mutual support. The

               potential danger of invoking a response from a well

               organized unit that travels in numbers and are always

               prepared for confrontation. They know that no one can

               provoke one club member without being answerable to




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                                           the entire Club. And that such an answer is a point of

                                           honor that must come to the last man. The type of respect

                                           that this generates is one that is born out of fear.

                                       “Of all things in this man's life his loyalty and

                                       commitment to the well being of his Club comes first.

                                       Above family, friends, job, personal possessions, and

                                       personal safety. There is never, ever any doubt or time

                                       spent on even considering which comes first. The only

                                       thing that approaches his commitment to the Club, is his

                                       commitment to his brothers. But even here, the interests of

                                       the Club always comes before that of the individual.” 73

                     8.6.5.2. The same document goes on to provide “do’s and don’ts” for the

                                prospect. “Always display an aggressive positive attitude”; “Be

                                security minded. Look around and see what is going on around

                                you in public places and report anything that seems suspicious”;

                                “In public places, never, ever, let a Patch Holder walk off

                                unescorted….GO with him, keep him in sight, and always be

                                watching his back”; “Remember that you are a Prospect for the

                                Club 24 hours a day. Your association with the Club does not go

                                on and off with your vest.”




73   What is an M/C with Cover Sheet from “Chesty” HAMC Long Island Secretary




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             8.6.6. Full-Patch Member – When a person attains full-patch membership

                      status they gain the full benefits of wearing the patch. Once they attain

                      this coveted position, the doors are opened to more criminal activity.

                      8.6.6.1. George Wethern stated, who at the time was Vice-President of

                                 the Hells Angels Oakland chapter, “Our psychological edge, the

                                 club patch, proved as effective as a cocked shotgun, threatening

                                 that every Angel within hailing distance would jump to the

                                 brother’s assistance.” 74

                      8.6.6.2. Another benefit is using the “power of the patch” in distributing

                                 controlled substances (drugs). As related by former Hells Angels

                                 Oakland chapter Vice-President Robert Sandy:

                                 8.6.6.2.1. “Any member that was involved in the distribution of

                                               methamphetamine will always use the Club to enhance

                                               his business. The way that works is that the person(s)

                                               that the member is distributing methamphetamine to

                                               will know that the member is a Hells Angel. The

                                               person(s) will know not to mess with the member as

                                               they will have not only the member to deal with but the

                                               entire Club. The benefit to the person(s) is that they

                                               buy into the "myth" about the higher quality of Hells




74   George Wethern and Vincent Colnett, A Wayward Angel: The Full Story of the Hells Angels (Richard Marek
     Publishers, 1978), p. 46


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                                             Angels manufactured methamphetamine that they in

                                             turn are distributing.” 75

                                8.6.6.2.2. “Another benefit derived from being a Hells Angels

                                             member who distributes methamphetamine is that there

                                             is a built in network throughout the United States and

                                             the World. Anytime a member attends a Hells Angels

                                             function, other members find out who has a "stash bag"

                                             (methamphetamine supply on them) and asks for a

                                             sample. If they like the methamphetamine they will ask

                                             for larger quantities from that member and arrange for

                                             purchases at a later date.” 76

                      8.6.6.3. Steven Gault, a full patch member of the Hells Angels Oshawa

                                (Canada) chapter explained that receiving the patch “opened the

                                door” to communication with members to facilitate criminal

                                activity. Gault was asked if the Hells Angels were “a club a

                                bunch of old boys that just get together and ride, can you shed

                                any light on that or is that ah façade or is it?” Gault replied by

                                saying, “That couldn’t be farther from the truth there’s very I

                                can’t even think of one that ah doesn’t break the law in some way

                                shape or form whether it’s on lower level or higher level um like

                                as with Niagara they have complete control of the coke dealing

                                and the whole Niagara Region anybody steps in there um they’ll


75   Robert Sandy (Oakland HA member) Debrief by FBI Agent Michael LaPlante and me, dated 3 April 1998
76   Robert Sandy (Oakland HA member) Debrief by FBI Agent Michael LaPlante and me, dated 3 April 1998


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                               kill him point blank ah you don’t play with their game so they’re

                               all their lives are built upon drug dealing.” 77

                    8.6.6.4. The What is an MC Document stated: “When a man has earned

                               his Patch it does not mean that he has reached a goal and from

                               that point can just kick-back and coast. Moving from Hang

                               Around, to Prospect, to Patch Holder is not climbing from one

                               level to the next. Instead, progressing through the Club is like

                               moving up an ascending slope, and in time becoming a stronger

                               and more committed brother.” 78

9. APPROACH OF HELLS ANGELS TOWARDS LAW ENFORCEMENT

     9.1. In this part of my report I discuss the attitude of Hells Angels’ members towards

           law enforcement officers. The information I set out in this part of my report is

           based upon: Documents seized, conversations with former members,

           conversations with other Hells Angels experts. All OMGs have a disdain towards

           the police. The Hells Angels is no different. They don’t call 911 (they even have

           t-shirts to that effect). Law enforcement is considered the “enemy.”

     9.2. The Hells Angels have a specific patch that deals with assaulting a police officer

           (whether off or on-duty). The patch comes in two forms. The original patch was

           spelled (incorrectly) “DEQUIALLO” and has a black background with white

           lettering. The other patch, which appeared approximately in 2009, is spelled

           (correctly) “DEGÜELLO” and has a white background with red lettering. Both

           patches have the same meaning.

77 Detective Staff Sgt Len Isnor interview of Steven Gault (Oshawa HA member), conducted on September 16, 2006
   (I was not present)
78 What is an M/C Document




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       9.3. The term DEGÜELLO “is a Spanish noun from the verb ‘degollar’, to describe

             the action of throat-cutting. More figuratively, it means ‘give no quarter.’ It

             signifies the act of beheading or throat-cutting and in Spanish history became

             associated with the battle music, which, in different versions, meant complete

             destruction of the enemy without mercy.” 79

       9.4. There is also another patch, more common with the East Coast USA Hells

             Angels. It is “P.P.B.S.” and has a black background with white lettering. The

             initials stand for “Providence Pit Bull Squad.” It has the same meaning as the

             “DEGÜELLO” patch, meaning that the wearer has earned it for assaulting a

             police officer. “Dequiallo means you punched out a cop.” 80

       9.5. Former Hells Angels member Charles Haas, Sgt-at-Arms in the Sonoma chapter,

             spoke to law enforcement officers including myself about the Dequiallo patch.

             He told us that Dequiallo means ‘give no quarter, expect no mercy.’ To earn the

             Dequiallo patch, a member must stand his ground and never back down from the

             cops. Charles Haas said he received his Dequiallo patch when he knocked out

             two Blue Knights in New Jersey. These two Blue Knights were off-duty cops. 81

       9.6. Former Hells Angels member David Atwell (Downtown Toronto Chapter –

             Canada) spoke in the following terms about the “Dequiallo” patch. “What it

             means to the Hells Angels as a Police Officer is you pull a guy over that’s

             wearing that patch and you’re gonna confrontation. It – it’s gonna be his way, not




79   http://en.wikipedia.org/wiki/El Degüello
80   George Kaminski (Sergeant-at-Arms of the Hells Angels Monterey chapter) debrief in my presence on 28 March
     1997
81   Debrief of Charles Haas on 18 march 1997 at Federal Correction Institute Phoenix, where I was present


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                your way, he’s not gonna comply, he’s not gonna be – he’s gonna ignore you

                perhaps. It’s gonna be a fight.” 82

        9.7. From 1990 through 1998, I met and interviewed the following ex-members of the

                Hells Angels: Terry Norman (ex-member of the Winston-Salem chapter); George

                Kaminski (ex-member of the Monterey chapter, where he was the Sergeant-at-

                Arms); and Robert Sandy interviews (ex-member of the Oakland chapter, where

                he was the Vice-President). They confirmed the meaning of the Dequiallo

                (Degüello), and P.P.B.S. patches that I have set out above.

10.     SUPPORT FOR MEMBERS WHO ARE INCARCERATED

        10.1.    In this part of my report, I discuss the support system the Hells Angels provides

                 for members who are imprisoned for criminal offences. The information I set

                 out in this part of my report is based upon: Documents seized, conversations

                 with former members, conversations with other Hells Angels experts. The Hells

                 Angels members who are in jail or prison are referred to as the “Big House

                 Crew” (BHC). It is also sometimes referred to as “Brothers Held in Captivity.”

        10.2.    The Hells Angels keep a list of members who are in the BHC and distribute the

                 list to the membership. A newsletter is also distributed to all members detailing

                 the comings and goings of BHC members. 83

        10.3.    In an interview with a law enforcement officer, former Hells Angels member

                 was asked “Does the club benefit from members illegal activity?” He responded

                 that a member who is involved in illegal activity is supposed to “chip in” or



 82   Detective Staff Sgt Len Isnor interview of Toronto HA member, David Atwell (September 18, 2011). I met Atwell
      in 2014 and also interviewed him, confirming his prior interview that I had read
 83   BHC March 2012 Newsletter, which was seized pursuant to search warrant at the Hells Angels Mesa chapter
      clubhouse 19 July 2012.


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              “kick up” money to the club. The amount is never spoken about. It’s not

              brought up in an open forum. A member will make donations, like to the BHC.

              Members are supposed to “kick-up” as it’s the criminal activities that bring heat

              on the club. 84

      10.4.   Support of incarcerated members is important to the Hells Angels. It ensures

              that the incarcerated member feels the “love” of the organization and do not feel

              isolated and abandoned. The concern is that if a member feels abandoned by

              the organization, he will be more prone to cooperate with law enforcement and

              divulge information about the Hells Angels and their criminal activity. 85

              Chapter prospects are encouraged to reach out to incarcerated members by

              writing to them. 86

11.   INTERNAL DISCIPLINE

      11.1.   In this part of my report I discuss internal discipline in the Hells Angels. The

              information I set out in this part of my report is based upon: Documents seized,

              conversations with former members, conversations with other Hells Angels

              experts. The Hells Angels has many rules. As explained to me by several ex-

              members, rules are meant to be broken – it depends on who you are (status in

              organization and power of the chapter you belong to) as to what punishment, if

              any, shall be meted out. The punishments range from monetary fines, to the

              patch (colors) being “boxed,” to beatings, to being thrown out of the Hells

              Angels with a “no contact rule.” There are “written rules” and “unwritten rules”

 84 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,
    Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013
 85 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,

    Debrief by me (on continual basis)
 86 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,

    Debrief by me (on continual basis)


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              when it comes to internal discipline. The “unwritten rules” will vary from

              chapter to chapter. There are many more rules, however, I will touch on some

              examples of these rules and discipline attached to them in this section.

     11.2.    Under the Hells Angels “Constitutional Rules” 87:

              11.2.1.     “Disputes that become physical shall be fair and reflect our belief in

                          brotherhood (no weapons shall be used by either man). Alleged use of

                          a weapon must be presented at an appropriate meeting and is subject to

                          remedial measures that may include expulsion from the club.”

              11.2.2.     “Behavior unbecoming of a Hells Angel shall be cause for immediate

                          expulsion from the club. Examples include; lying, stealing or misuse of

                          a member’s or prospect’s property, or woman.”

              11.2.3.     “If any member is found to be using a needle to inject narcotics into

                          his body or causes narcotics to be injected into his body, the moment

                          that this fact is known that member is immediately out of the club,

                          regardless of the fact that he is dead or alive (except for medical or

                          non-recreational purposes).”

                          11.2.3.1.     It is, however, okay to use a needle for steroid injection, as

                                        it is for the “benefit of the Hells Angels.” 88

     11.3.    Under the Hells Angels “Prohibitive Rules” 89:




87 Hells Angels Motorcycle Club World Rules 2012, Section addressing “Constitutional Rules” – Seized during search
   warrant at Hells Angels Omaha Clubhouse 7-15-13 (I was not present)
88 George Kaminski (Sergeant-at-Arms of the Hells Angels Monterey chapter) debrief in my presence on 28 March

   1997: “So there's that fine line, you know, uh they, they, some you know, they, you know, still have some that do use
   injections steroids because they say that it is for the benefit of the club.”
89 Hells Angels Motorcycle Club World Rules 2012, Section addressing “Prohibitive Rules” – Seized during search

   warrant at Hells Angels Omaha Clubhouse 7-15-13 (I was not present)


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        11.3.1.   “No HAMC charter, HAMC member, or HAMC Prospect be allowed

                  to market anything bearing the name Hells Angel and/or Death Head

                  logo without proper licensing by the corporation.

                  Penalty: $200 fine for violation to be paid to the Corporation.”

        11.3.2.   “Do not put official World Run Photos on Internet sites. Do not put

                  party photos or pictures of Brothers on Internet sites without those

                  Brothers permission. Penalty: To be decided by a World Meeting.”

        11.3.3.   “ALL support gear (shirts, hats, rings, key chains, anything) MUST

                  say “support” with the number 81 and must NOT have indicia that

                  closely resembles our own (i.e. rockers, deathheads and lay out)

                  Penalty: $500 U.S. fine paid to regional treasury.”

        11.3.4.   “To amend the no Heroin rule to include the freebasing of addictive

                  chemical compounds such as cocaine, meth, crack and similar

                  chemical compounds. Penalty: Existing penalty remains the same

                  ‘Kicked Out’.”

11.4.   There is a status known as having a “patch in the box” (“boxed”). The chapter

        takes the Hells Angels vest (patch) and holds on to it for a period of time for

        some type of transgression that is not sufficient to be kicked out for. The

        member is still “in” the club, but his activities have been suspended. A “boxed”

        member doesn’t attend meetings or Hells Angels functions. A “boxed” member

        loses or gives up his right to vote on club matters.

        11.4.1.   While having the “patch in the box” the chapter members must decide

                  whether the member should remain in the club or leave. During this




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                              time the chapter will review the matter and a decision will be made as

                              to the member’s status in the Hells Angels. 90

12.     LEAVING THE CLUB

        12.1.     As partially addressed in paragraph 7.1.7.2, there are two ways of leaving the

                  Hells Angels – “Left” & “Out.”

                  12.1.1.     “Left” - The (hangaround, prospect, or member) leaves for personal

                              reasons or he is given the option to leave the Hells Angels before he is

                              kicked out. They can associate with other Hells Angels and

                              occasionally visit the clubhouse. Members can associate with them

                              also. This is sometimes referred to as “out in good standing.” In

                              addition to having an “out” date near their Hells Angels tattoo, they

                              must return all Hells Angels paraphernalia.

                  12.1.2.     The chapter they “left” can change their status from Left to Out at any

                              time they desire. Each chapter is required to take a frontal and side

                              view photograph of the member along with a scanned copy of their

                              driver’s license, their membership status (hangaround, prospect, or

                              member) at the time and reason for leaving.




 90   George Kaminski (Sergeant-at-Arms of the Hells Angels Monterey chapter) debrief in my presence on 28 March
      1997: Q: What would be a reason for suspension? A: “Suspension, that's a, there is no suspension. You have a, some
      charters have like what we had a, Ok, a patch in a box.” Q: Ok. so what's a patch box then? A: “Your screwing up,
      but not enough to throw out” “So he can't wear his patch. He can't wear no Hells Angel patch for nearly a month.
      Straight up” Q: Ok. Is it actually physically collected? Kept at the club? A: “Yeah, you know, not all the shirts, just
      the patch, you know, put in what they call a patch box. They put it in a patch box and then, you know, 30 days you
      straighten and you get it back.”


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                           12.1.2.1.     An example of being given the option to leave instead of

                                         getting kicked out is when the Sonoma County chapter was

                                         upset 91 with the Shasta County chapter and wanted the

                                         members kicked out. 92 The Shasta County chapter was

                                         “frozen”. One member (Phil Strazdas) was allowed to

                                         “Leave” in good standing and the three remaining members

                                         of the Shasta County chapter (Bobby T, Red McGarry, and

                                         Billy Clem) were transferred to the California Nomads

                                         chapter. McGarry and Clem were then listed as “left” the

                                         club and. 93

                           12.1.2.2.     A member was kicked out but allowed to associate with the

                                         chapter: (San Jose chapter member) “Billy Hayton got too

                                         deep into inhaling nitrous oxide and would get really stupid

                                         when drinking alcohol. Hayton would chase other

                                         member's "old ladies" (a member's wife or girlfriend). He

                                         was kicked out, but allowed to still associate with the

                                         Club.” 94


91 WCOM dated April 14, 2007 – Seized pursuant to a search warrant executed at Hells Angels Berdoo chapter
   clubhouse on 27 July 2007, which I monitored. “Our whole charter is seriously upset with Shasta CO’s recent
   conduct.”
92 WCOM dated April 14, 2007 – Seized pursuant to a search warrant executed at Hells Angels Berdoo chapter

   clubhouse on 27 July 2007, which I monitored. “We are submitting an “In house motion” today to bring up the
   members in Shasta Co for their patches.” At this meeting, Sonoma submitted the motion stating “Reason for
   Request: In the past several months there has been a ongoing situation in the Shasta Co area that has not been
   handled properly and reflects badly on the membership of our club.” “Motion or Request: Due to this unacceptable
   situation and the lack of resolution in the Shasta Co area we are submitting this motion to bring the existing Shasta Co
   members (with the exception of Bobby T) up for expulsion from the club. The motion was: “MOTION MADE BY:
   Sonoma Co Seconded by Frisco.”
93 WCOM dated August 11 2007 – Seized pursuant to a search warrant executed at Hells Angels Berdoo clubhouse

   on 27 July 2007, which I monitored. “NOMADS CA: As of 07/19/07 ex Shasta Co members Billy & Red left the club.
   (pictures next month)”
94 Robert Sandy (Oakland HA member) Debrief by FBI Agent Michael LaPlante and me, dated 3 April 1998




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                 12.1.4.    Upon being thrown out, the chapter will keep his motorcycle and will

                            usually force him to sign over the title of the bike to the chapter. A

                            beating may or may not be administered – depending on the

                            circumstances. 95

13. PATCHOVERS

        13.1.    In this part of my report I discuss how members of other OMGs can join the

                 Hells Angels. The information I set out in this part of my report is based upon:

                 Documents seized, conversations with former members, conversations with

                 other Hells Angels experts. Recruitment may be made from other OMGs, if it is

                 to the benefit of the Hells Angels as a whole. The benefit for the Hells Angels

                 is commonly for control of “turf” (territory) for drug distribution and any other

                 criminal activity the members are involved in (i.e. prostitution, extortion, etc.).

                 By allowing members of another OMG to become a Hells Angel, it eliminates

                 the competition (and the wars that are bad for business that go along with them);

                 strengthens their numbers and allows them to stay below the radar (by lessening

                 the high visibility of assaults on rivals in public places).

        13.2.    When the members of an OMG drop the patch of their gang to become

                 members of another OMG that is commonly referred to as a “patchover.”

        13.3.    Rarely do we see patchovers in the United States between the seven major

                 OMGs (Hells Angels, Bandidos, Outlaws, Pagans, Mongols, Vagos, and Sons

                 of Silence). It has, however, occurred – in 2003 the Hells Angels accepted


 95   Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,
      Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013- “They’ll lose their bike, their
      money. Anything of money value they’re taking. The may get a beating. They’ll get held at the clubhouse, and a
      crew will be sent to their house and clean it out. A lot of chapters are saying don’t take their bikes anymore
      because of the heat it causes. They will create forms to sign over the property.”


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                  several members of the Pagans MC in Philadelphia and established the

                  Philadelphia chapter. Loyalty to one's club is paramount to an Outlaw

                  Motorcycle Gang member, the Pagans were not happy about some of their

                  members going over to their rivals. Many incidents of violence occurred

                  between the Pagans and Hells Angels over the patchover, which ended with the

                  folding of the Hells Angels Philadelphia chapter in 2005.

        13.4.     A member of another OMG can join the Hells Angels only if the Hells Angels

                  feel that it will benefit the Hells Angels. The Hells Angels for the majority of

                  times make the person prospect for the minimum one year mandatory time

                  required of a prospect. There have been, however, incidents where a member of

                  another OMG was given a “patch for patch” and was not made to prospect. This

                  occurred in December 29th, 2000 in Ontario, Canada (the ceremony was held at

                  the Sorel Chapter, Quebec clubhouse) when a total of 168 patches and 11 prospect

                  patches were given to members of the Para-Dice Riders, Satan’s Choice, Last

                  Chance and Lobos MCs. This move was made to enhance the Hells Angels’ drug

                  trade and to decimate the Bandidos expansion into Ontario, Canada. 96

14.     REPUTATION OF THE HELLS ANGELS


 96   R. v. Lindsay; Between Her Majesty the Queen, and Steven Patrick Lindsay and Raymond Lawrence Bonner;
      [2005] O.J. No. 2870; Court File Nos. 022474/01 and 022474/02; Ontario Superior Court of Justice M.K. Fuerst J.;
      Judgment: June 30, 2005. Paragraphs 208, 275 and 438. “¶ 208 Staff Sergeant Lemieux testified that there has been
      strife between the Hells Angels, the Outlaws, and the Bandidos over control of the drug trade in various territories.”
      “¶ 275 Minutes of a World Officers meeting in November 2001 indicated that there was discussion about the Thailand
      chapter. It made prospects full members after only a short time. Other countries, including Canada, objected. The
      Thailand chapter explained that this was done to "secure" Asia for the HAMC. The Bandidos and the Outlaws each
      had a chapter in Thailand already. In Staff Sergeant Lemieux's opinion, the HAMC was competing for territory in
      which to conduct the drug trade.” “¶ 438 …… In early December 2000, the RM patched over to the Bandidos, in the
      witness' opinion to put pressure on the Hells Angels to negotiate. On December 29, 2000, the Hells Angels patched
      over Ontario clubs, in the witness' opinion to counteract the Bandidos and prevent their expansion in Ontario. Shortly
      after that event, some members of the RM, who were by then Bandidos, patched over to become members of the
      HAMC.”




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       14.1.   In this part of my report I discuss the reputation of the Hells Angels. The

               information I set out in this part of my report is based upon: Documents seized,

               conversations with former members, conversations with other Hells Angels

               experts. The Hells Angels have established a reputation of fear and intimidation.

               As stated in the What is an M/C Document “Respect is borne out of fear. 97”

               Based on my experience, the Hells Angels operate with this mantra. The tactic of

               instilling fear is used not only to promote their illicit business, but also to

               maintain control over their support clubs and citizens. If a member is involved in

               the distribution of controlled substances, he will use the aspect of fear that comes

               with the patch to ensure that his customers do not attempt to steal from him or

               question what he does, as they know that not only are they dealing with the

               individual member but the entire Hells Angels organization. The support clubs

               know that the Hells Angels are the dominant gang and are kept in a subservient

               role with the knowledge that the Hells Angels have the ability to strip them of

               their club patches. It is used to intimidate citizens to keep them from reporting

               anything they either witness or are a victim of, to the police. The only way they

               maintain the respect is to rule by fear and intimidation.

       14.2.   This reputation was established in the early 60’s. In his book “Hell’s Angel: The

               Autobiography of Sonny Barger,” Sonny Barger wrote: “Fuck with a Hell’s Angel

               and if the guy doesn’t light you up, he could be tossed out of the club for not

               standing up for himself. No second chances. Members are routinely voted out of

               the club – and beaten up – if they don’t stand up for themselves.” “We take such

               a hard line because if a Hell’s Angel is out in public by himself and somebody

97   See What is an M/C Document


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             insults him or rat-packs him, we expect him to stand up for himself (and the club’s

             reputation) and not just walk away. Light the guy up, fine. If you get beat up, you

             get beat up. But never take an insult. If the guy fucks you up, your friends can

             always return and rectify the situation. These rules apply all the times, whether

             you’re with other Hell’s Angels or on your own. If you can’t stand up for yourself

             in front of other members, how can we be sure you’ll stand up when you’re

             alone? Angels don’t like to make too many rules, but a few basics have kept the

             club in operation for over fifty years.” 98

     14.3.   Not only does their reputation instil fear and intimidation but it also recruits more

             people into the Hells Angels. Again, in his book Hell’s Angel: The

             Autobiography of Sonny Barger, Sonny Barger wrote: “By 1966, the Hell’s

             Angels grew past the state of California, accepting clubs that admired our

             reputation and wanted to affiliate.” “We even had a charter in Australia, which

             we used to call “the forgotten charter. The early Frisco club granted them a

             charter, but nobody had ever heard back from them since they joined.” 99

     14.4.   As evidence of the attraction the Hells Angels reputation has for new recruits, in

             his book, “A Wayward Angel,” George Wethern went on to say: “As I outgrew

             the high school scene, the club’s kamikaze style and camaraderie fascinated

             me.” 100 Many a member has been drawn to the Hells Angels for the




98 Ralph 'Sonny' Barger (with Keith and Kent Zimmerman), Hell's Angel: The Life and Times of Sonny Barger and
   The Hell's Angels Motorcycle Club (New York: Harper Collins, 2000), p. 71
99 Ralph 'Sonny' Barger (with Keith and Kent Zimmerman), Hell's Angel: The Life and Times of Sonny Barger and

    The Hell's Angels Motorcycle Club (New York: Harper Collins, 2000), p. 35
100 George Wethern and Vincent Colnett, A Wayward Angel: The Full Story of the Hells Angels (Richard Marek

   Publishers, 1978), p. 27


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              “brotherhood” aspect, only to find that it was not what they expected it to be.

              They find that it is about making money. 101

      14.5.   The more that a member is or appears to be violent, the more his reputation in the

              gang will be enhanced. George Wethern wrote: “My temper prevented Helen

              from ever really relaxing in public places, but it enhanced my club reputation.

              My style earned me a spot among the “heavyweights,” the front line of offense

              comprised of the biggest, brawlingest brothers.” 102

      14.6.   The reputation that Sonny Barber started in the early 60’s still exists to this day.

              In his book, Sonny Barger wrote: “‘One on all, all on one’ means that when you

              fight with one Hell’s Angel, you fight us all.” 103 During a debrief of a former

              Hells Angels member, he related that the same ideology exists today. He was

              asked: Q- “Debt collections, what does it mean to have a patch?” A- “Everything

              you’re a fuck’n juggernaut you know what I mean. Nobody wants to fuck with

              that. I mean you don’t want a problem, you got a problem, there’s a motto in the

              club that’s all on one and one on all that means you should be afraid to take on

              everybody by yourself or all of us against fucking one of them you know what I

              mean. It’s all on one and one on all so I mean it’s the reputation for the club

              speaks for itself. It’s how the individual presents himself that gives you the

              golden ticket or the juice power you know what I mean. I ain’t paying for fuck’n




101 Timothy Jordan Debrief by BEU Detective Sgt Raymond Wolf and me, dated September 13, 2010 – Q- “Asked to
   comment on brotherhood? A- There is real no brotherhood. It’s about money. At funerals, which you had to go
   to, it looked like brotherhood.”
102 George Wethern and Vincent Colnett, A Wayward Angel: The Full Story of the Hells Angels (Richard Marek

   Publishers, 1978), p. 46
103 Ralph 'Sonny' Barger (with Keith and Kent Zimmerman), Hell's Angel: The Life and Times of Sonny Barger and

   The Hell's Angels Motorcycle Club (New York: Harper Collins, 2000), p. 39


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              you know any illegal activities out there I want to do I don’t pay for it. I just walk

              in there and fuck’n do it.” 104

      14.7.   The Hells Angels will sponsor “Toys for Tots”, “Blood Drives” and “Charity

              Events” to try and mask their true purpose – criminal activity. They hope that by

              sponsoring these types of events, the public will remember when it comes time for

              court. It could not have been stated any better than during a debrief of former

              Hells Angels Monterey chapter Sergeant-at-Arms, George Kaminski, when asked

              about an entry in one of the Monterey chapter minutes entry about a toy run.

              Kaminski stated the following: “The toy run is a toys for tots type of thing.” He

              was asked “Ok. Why do the Hell's Angels do the toy uh.” Kaminski responded –

              “Oh, it's good PR.” He was then asked “Ok. Why do they need good PR?”

              Kaminski responded – “It's normally in the papers you get so many bad PR that

              you need some good PR, you know.” “Potential jurors don't forget.” 105

      14.8.   During the service of a search warrant at the Hells Angels Daly City clubhouse in

              California on 10 April 2008, I located a printed email with a photograph of an

              Ontario Hells Angel member posing with a young child next to a sign “Borri

              Benefit.” The caption under the photograph stated: “After some consultation with

              professionals interested in our fight for fair justice, it has been expressed to me

              that our public image needs desperately to be improved, and a strategy has been

              recommended that is tried and true by other groups the world over. From now

              on, every Hells Angel event, every party, should pick out a local charity, be it a



104 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,
   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013
105 George Kaminski (Sergeant-at-Arms of the Hells Angels Monterey chapter) debrief in my presence on 28 March

   1997


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                 food bank, homeless shelter, kids hospital and contribute something. The amount

                 is does not have to be large. Even small contributions help and are

                 appreciated.” 106




15.     TERRITORY

        15.1.    In this part of my report I discuss the attitude of Hells Angels’ members to

                 territory. The information I set out in this part of my report is based upon:

                 Documents seized, conversations with former members, conversations with other

                 Hells Angels experts. The Hells Angels are very territorial. They have

                 “unwritten” rules about encroaching in fellow members’ drug distribution




 106   The PR Campaign photograph was seized by me pursuant to search warranted executed at Hells Angels Daly City
      chapter clubhouse on 10 April 2008.


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              territory107 and they are also concerned about rivals encroaching into their

              territory.

      15.2.   One method used by a Hells Angels member in controlling his drug network is by

              implementation of taxes. Taxing can occur in various ways. A dealer who is

              being supplied by one Hells Angels member can be authorized to operate in

              another member’s territory. The dealer pays a tax for the privilege of bringing

              drugs into the other members controlled territory. 108

      15.3.   A person can also be taxed on dealing or operating in a Hells Angels territory

              without authorization.

      15.4.   Another form of taxation is what occurred in Ventura, California. Speaking in

              terms of using the “power of the patch”, a former Hells Angel member related: “If

              I want to get high, I’m hitting every fuck’n drug dealer in this town that I know

              and I’m going to walk in there and say what do you got for me. Nothing. What do

              you mean? You doing this in this town it brings heat on us so you’re gonna kick

              down and I’m going to look the other way and I’ll be back next week you know

              what I mean. If I’m broke I’ll go to the drug dealers and tell them hey what do

              you got for me, what do you mean, I need some money I want to go out tonight

              and by the way give me some shit too you know what I mean. It's ah it’s a juice




107 Detective Staff Sgt Len Isnor interview of Steven Gault (Hells Angels Oshawa chapter member), conducted on
   September 16, 2006 (I was not present during this interview) “…anybody will back ya and ah another place you’ll
   get stopped is when another member has a territory and that that’s called (unintelligible) meeting anyway like ah when
   we had all the head banging in Peterborough um they believed I was trying to get in their territory and sell drugs in
   Peterborough…”
108 Conversations with Detective Sgt Len Isnor re Hells Angels taxing methods based on his experience as an expert

   on Canadian Hells Angels.


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              card man, its better than.. you don’t even have to hold a pistol to nobody you

              know what I mean you just go do what you want.” 109

      15.5.   Another former South Carolina Hells Angels member was asked: Q – “How did

              they control the drug territory in his chapter? Were methods like taxing used?” A

              – “No taxing was used. You dealt in their area and were caught you were

              beaten.” 110

      15.6.   When going into a new area, the Hells Angels usually have a well thought out

              plan. As explained by a former Hells Angels member: Q – “When moving into a

              new territory or trying to take over an area is there any methods that the Hells

              angels use?” A – “Well first we’ll go into the area and see who the dealers are

              and they get approached and told your either on the train or you’ll get run over

              by it. This is our area now. If there is a puppet club in the area we’ll see who the

              most connected guy is in that area and he’ll do the job for us. Sometimes I’d let

              the guy become a hangaround so he has the added tools to do the job. Use his

              position to gain respect and control the area. If no puppet club, I’d give the area

              to a prospect and it was his job to control that area, and sometimes I’d pick an

              individual who was well connected in the community to do the work for me. We

              insulate ourselves as much as possible. But if you can’t watch your money or

              control an area you may have to take control to get things back in order.” 111

      15.7.   The Hells Angels would have discussions amongst themselves relative to their

              rivals. As explained by a former South Carolina Hells Angels member: Q – “Is


109 Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,
   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013
110 Timothy Jordan Debrief by BEU Detective Sgt Raymond Wolf and me, dated September 13, 2010
111Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,

   Debrief by Canadian Biker Enforcement Unit and me, dated September 12th, 2013


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               the East Coast membership more aggressive towards the Mongols as opposed to

               the West Coast membership?” A – “It’s about geography. The East Coast

               membership is pressuring the West Coast membership to become more involved

               in the fight for territory against the Mongols. While the West Coast membership

               is pressuring the East Coast membership to become more involved in fighting the

               Outlaws for territory.”

    15.8.      Rivalries arise between the dominant OMGs over their criminal activities. As

               discussed by former Hells Angel Oshawa (Ontario) chapter member Stephen

               Gault when he is asked whether the Hells Angels got along with the Bandidos.

               His response was that they did not, the reason being the Bandidos were running

               prostitutes and selling cocaine, marijuana and pills in what the Hells Angels

               considered their territory. Gault further explained that they handled the invasion

               of territory by “aggressive recruiting.” 112

    15.9.      Regardless of the method used, the main tool for implementing control of their

               territory is through the Hells Angels’ reputation for violence.

    15.10. The Hells Angels will regard certain geographical areas as their territory. They

               have a, “you’re either with us or against us” attitude. The only clubs allowed to

               operate in what the Hells Angels consider to be their territory are the ones that are

               willing to be “support” clubs.




112Detective Staff Sgt Len Isnor interview of Steven Gault (Oshawa HA member), conducted on September 16, 2006
  (I was not present during this interview): “uh that’s when your taking over like if uh any regular citizens where
  they’re selling drugs uh start selling for Bandido um they’ll take any means necessary to convince them to sell drugs
  for the HA um and where necessary uh you’ll go right to war with uh any rivals um uh one (1) example is where uh
  Eric a Bandido uh was moving his uh strippers into Oshawa and selling cocaine at the Dynasty um several uh puppet
  club members uh couple of prospects and uh full patch member Shawn ROBINS (ph) attended there um looking for
  Eric and Shawn ended up stabbing him trying to kill him and I believe they shot at the rest of the Bandidos that were
  in their car…”


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15.11. A support club does not necessarily operate under the direction and control of the

       Hells Angels. A support club is not required to perform specific tasks such as site

       security and bodyguard duties. There is no requirement for members of support

       clubs to engage in criminal activities, however, this does not preclude individual

       members from voluntarily becoming involved in the commission and/or

       facilitation of criminal activities in support of the Hells Angels and/or a specific

       member of the Hells Angels. Support club members will often socialize and

       attend various structured events sponsored and/or organized by the Hells Angels.

       They are normally required to wear the “support patch” (i.e. “Support Red &

       White”; “Support Frisco Red & White”; etc.) on their vests. This displays the

       amount of support that they have in their area.

15.12. In addition to the “support” clubs there are “puppet clubs.” Puppet clubs are ones

       that are created by and controlled by the Hells Angels chapter that forms them.

       They can be used to help control Hells Angels territory. As explained by a former

       Hells Angels Ventura chapter member when asked the purpose of having a puppet

       club: “Well, hopefully they’re ah there could be all different types of functions

       you know ah uses I should say for puppet clubs. Ah for one hopefully it’s gonna

       take some of the heat off of you, you know what I mean. For two if it doesn’t then

       they pretty much gotta they can move freely for you, here take this over to this

       house, pick this up and bring it back here you know what I mean. It’s just exactly

       that - a puppet club and we hold the strings. Umm you can ah I mean ah the, the

       possibilities are endless you could ah you could start a puppet club and tell them

       you gotta pay two hundred bucks a month to exist in your county even though you




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                 started them. They just go into that knowin’ that you know they’re number 2 they

                 think you know what I mean but really they ain’t shit” 113

16.     PURPOSE OF ASSOCIATION AND FACILITATION

        16.1.    In this part of my report I set out my opinion regarding why members of the Hells

                 Angels associate with one another. The information I set out in this part of my

                 report is based upon: Documents seized, conversations with former members,

                 conversations with other Hells Angels experts. Members claim that they joined

                 an OMG because they sought a brotherhood bond with unconditional support.

                 They claim that it is about riding a motorcycle.

        16.2.    It is my opinion that the reason members join is for the “power of the patch.” As

                 stated previously in paragraphs 8.6.6.2 through 8.6.6.4, the purpose is to facilitate

                 and enhance their criminal activity through their worldwide network.




 113Former    Individual Confidential Source, member of United States chapter that needs to be kept confidential,
      debrief by me on a continual basis


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              16.2.1.   In addition to the Hells Angels members’ ability to use their network to

                        conduct their illicit drug trade and other illicit criminal trades, they use it

                        to hide fugitive members. As depicted in the above wanted posters of

                        two fugitive Dago (San Diego) members – Dabbs is still a fugitive with

                        Scholder having been captured in Langley, British Columbia during a

                        traffic stop on May 8th, 2014.

              16.2.2.   Prior to that incident, another fugitive Hells Angels Mesa, Arizona

                        member, Paul Eischeid was arrested in February 2011 in Buenos Aires,

                        Argentina. Eischeid, a successful stockbroker at the time of his arrest,

                        was indicted on drug trafficking, kidnapping, and murder charges in

                        2003, but fled the country after being placed under house arrest. A co-

                        defendant (Mesa, Arizona Hells Angels member, Kevin Augustiniak) in

                        that case has since pled guilty to homicide. Eischeid is being supported

                        by the Hells Angels Buenos Aires chapter members in addition to having

                        defense funds set up in the United States, by the Hells Angels to fight his

                        extradition.114

      16.3.   It is my opinion that members of the Hells Angels associate for the purposes of

              organizing, planning, facilitating, supporting and/or engaging in serious criminal

              activity and that the organization represents a risk to public safety.




114Europol Report Annexure 413 – Stuttgart Minutes 02-12-11 (1037895-1-1): World & European Meeting –
   Stuttgart – 2nd December 2011
“New Business:              Argentina
1/ Donations to Paul should be sent by countries and not charters.”




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17. DO MEMBERS OF THE HELLS ANGELS ENGAGE IN CRIMINAL ACTIVITY

       17.1.    In this part of my report I set out my opinion regarding the criminal activity that

                members of the Hells Angels engage in. The information I set out in this part of

                my report is based upon: Documents seized, conversations with former members,

                conversations with other Hells Angels experts, crime reports of crimes committed

                by members of the Hells Angels.

       17.2.    I am aware of numerous crimes committed by members of the Hells Angels, to

                include homicide, aggravated assault, assault with a deadly weapon, robbery,

                possession of firearms, possession of deadly weapons (other than firearms), auto

                theft, mortgage fraud, manufacture of controlled substances, distribution of

                controlled substances, witness intimidation, kidnap, mayhem, felon in possession

                of a firearm. 115

       17.3.    The culture of the Hells Angels organization allows a Hells Angels member to

                engage in criminal activity. You don’t get involved in the membership process

                unless you are willing to engage in criminal activity. This starts at the onset with

                the willingness to assault rival OMG members.

       17.4.    A Hells Angels member has a worldwide network to facilitate their criminal

                activity, particularly in the area of manufacture and distribution of controlled

                substances (Cocaine, Methamphetamine, Extasy, Oxycontin, etc.) and

                sales/purchase of firearms.

       17.5.    The networking starts at the Prospect level and is cultivated as they advance to

                full membership. As explained to me by a former Hells Angels member, who

                held various leadership positions during his ten year membership (Chapter

115   Annexure C – Hells Angels predicate cases (convictions)


                                                                                               63

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              Sergeant-at-Arms and Chapter President), “The networking starts when you are

              on a run as a Prospect. While standing guard duty you meet Prospects from other

              chapters from different parts of the country and the world. During those runs,

              you get to know what drug and/or firearm connections they have. You find out

              where you can make a profit in distributing controlled substances or obtaining

              chemicals to manufacture methamphetamine. You build a relationship with those

              Prospects every time you are both on a run. Once you are both full patch

              members you continue that relationship.” 116

      17.6.   As previously stated in this document, a Hells Angels member also has the ability

              to find safe harbor while a fugitive from justice. As evidenced by the Paul

              Eischied (Hells Angels Mesa (Arizona) chapter member) case – Eischied was

              being harbored by the Buenos Aires (Argentina) chapter of the Hells Angels until

              his arrest in Buenos Aires. Eischied is still being supported by the Buenos Aires

              chapter and carried on the roster as a member of the Buenos Aires chapter while

              in custody. Eischied is a fugitive from a homicide case where he and two other

              Hells Angels Mesa chapter members beat unconscious a female (Cynthia Garcia)

              who they felt had disrespected them while at the Hells Angels Mesa chapter

              clubhouse. They then put Cynthia Garcia in the trunk of a vehicle and drove her

              out to the desert, where they stabbed and nearly decapitated her and left her to die.

      17.7.   The Hells Angels organization is a culture that encourages criminal activity by its

              members. This is evidenced by how they stand by their members that are

              incarcerated. Hells Angels members are not kicked out of the organization for


116Former Individual Confidential Source, member of United States chapter that needs to be kept confidential,
   debrief by me on a continual basis


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        committing crimes. They earn patches and ribbons for committing assaults and

        being wounded by rival OMG members (Filthy Few, Degüello, Purple Heart). A

        Hells Angels’ status is elevated for being violent.

17.8.   In this statement of opinion, I have outlined and explained the organizational

        attributes or characteristics of an OMG that show that the Hells Angels are a

        worldwide criminal organization per the New South Wales Pt. 2 of the Crimes

        (Criminal Organizations Control) Act 2012. I have used these attributes as a

        helpful analytical model for organizing the information and knowledge I have

        referenced in this document about the Hells Angels Motorcycle Club. These

        represent a useful but not exclusive or exhaustive organizational scheme for

        determining whether or not the Hells Angels Motorcycle Club is a criminal

        organization.

17.9.   It is my opinion that those organizational attributes and the information collected

        under them illustrate that the main purpose or main activities of the Hells Angels

        Motorcycle Club is the facilitation as well as the commission of serious criminal

        offences and demonstrate that the Hells Angels Motorcycle Club is a criminal

        organization.

17.10. It is my opinion that the information collected under the organizational attributes

        and referenced in this document clearly illustrate that membership in the Hells

        Angels Motorcycle Club serves a common purpose: to secure, maintain, and

        control exclusive markets for criminal activities.




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